     Case: 1:09-cv-01221 Document #: 94-2 Filed: 06/12/09 Page 1 of 2 PageID #:962




              IN THE UNITED STATES DISTRICT COURT FOR THE
            NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

BRADLEY J. SCHAUFENBUEL; et al.,                )
                                                )
                     Plaintiffs,                )
                                                )   Case No. 09-CV-1221
v.                                              )
                                                )
INVESTFORCLOSURES FINANCIAL,                    )   Judge Leinenweber
L.L.C.; et al.,                                 )
                                                )   Magistrate Judge Nolan
                                                )
                     Defendants.                )

                                   NOTICE OF FILING

TO:     ATTACHED SERVICE LIST

        PLEASE TAKE NOTICE that on Thursday, the 12th day of June, I filed
electronically with the United States District Court for the Northern District of
Illinois the Voluntary Dismissal of Defendant Wessel Without Prejudice.

                                        PLAINTIFFS


                                        By: __/s/ Robert C. Thurston____
                                              One of Their Attorneys


Thurston Law Offices, P.C.                   Law Offices of Joel M Weiner, LLC
Robert C. Thurston                           Joel M. Weiner
A.R.D.C. No. 6209353                         579 N 1st Bank Drive Suite 150
10469 Bethel Avenue                          Palatine, IL 60067-8102
Huntley, IL 60142                            Phone: 847-654-3105
Phone: 847-659-8613                          Fax: 847-358-7165
Fax: 847-628-0930                            Email: jweiner@jweinerlaw.com
Email: tj@thurstonlawpc.com




                                          -1-
   Case: 1:09-cv-01221 Document #: 94-2 Filed: 06/12/09 Page 2 of 2 PageID #:963




                            CERTIFICATE OF SERVICE

      I, Robert C. Thurston, an attorney, hereby certify that I served a copy of this
Notice and the referenced documents therein upon all persons on the Service List
below by causing the same to be sent via ECF for all Filing Users on June 12, 2009
and via U.S. Mail to all who are not Filing Users on June 13, 2009.


                                       By: __/s/ Robert C. Thurston____



                                  SERVICE LIST

Attorneys For Defendants                   Attorneys For Defendant Deana M.
InvestForClosures Financial, L.L.C.;       Guidi; Darcey L. Martin; Tom Rodriguez
InvestForClosures.com, LLC;                Charles A. Dunlop
InvestForClosures Ventures, LLC; and       Russell W. Baker
Francis X. Sanchez                         Genevieve M. Lynott
Robert B. Christie                         Campion Curran Dunlop & Lamb, PC
Jeffry M. Henderson                        8600 US Hwy 14, Suite 201
Harris L. Kay                              Crystal Lake, IL 60012
Henderson & Lyman                          (815) 459-8440
175 West Jackson Blvd, Suite 240           cdunlop@ccdllaw.com
Chicago, IL 60604                          rbaker@ccdllaw.com
(312) 986-6960                             glynott@ccdllaw.com
RChristie@henderson-lyman.com              ECF FILER
jhenderson@henderson-lyman.com
ECF FILER

Defendant Scott D. Wessel                  Defendant Daniel E. Fitzgerald
Scott D. Wessel                            Daniel E. Fitzgerald
1700 Wicker St.                            606 Hapsfield Lane
Woodstock, IL 60098-2456                   Buffalo Grove, IL 60089-3364
NON-ECF FILER                              NON-ECF FILER

Defendant Scott Slagle                     Defendant Realty Opportunities
Scott Slagle                               International S. de R.L. de C.V.
364 Gertrude St.                           Frank Sanchez, CEO
Elgin, IL 60123-7451                       13906 Rt. 176
NON-ECF FILER                              Woodstock, IL 60098
                                           NON-ECF FILER




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